     Case 7:24-cv-02333-PMH     Document 24   Filed 09/27/24   Page 1 of 1




                              Jacob Felberbaum
9/26/2024


Attn:
The Hon. Philip M. Halpern
United States District Court
Southern District of New York
300 Quarropas St.
White Plains, NY 10601-4150


                             Re: P.F. v Y.F.
                           24-CV-02333 (PMH)


Dear Honorable Judge Halpern,

My name is Jacob Felberbaum and I have a pending custody case in the
Rockland county family court, (File No.: 42103).

My attorney representing me in the Rockland county family court called me
today the 26th of September, informing me that on the docket of the above
mentioned federal case there is a sworn affidavit that I was served.

I want to inform your honor, that I was never served any documents in
relation to the above mentioned case, the affidavit uploaded on the docket
is a complete and absolute lie.

Furthermore, since August 6th of this year, I have not been residing at 80
Meron Road in Monsey, NY, nor has anyone been residing at that address,
who can accept or has accepted service on my behalf.

Thank you for your consideration of this important and relevant information.


Respectfully yours,


Jacob Felberbaum
